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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    CASSANDRA LACKMAN,                             Case No.: 3:20-cv-1256-BEN-AHG
12                                  Plaintiff,
                                                     ORDER SETTING SETTLEMENT
13    v.                                             DISPOSITION CONFERENCE
14    BLAZIN WINGS, INC., et al.,
15                               Defendants.
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 1          On July 29, 2022, the parties jointly filed a Notice of Settlement. ECF No. 71. The
 2    parties anticipate that a joint motion to dismiss will be filed within 30 days. Id.
 3    Accordingly, the Court SETS a telephonic Settlement Disposition Conference (“SDC”) for
 4    September 12, 2022 at 11:00 a.m. before the Honorable Allison H. Goddard. Counsel
 5    shall call the chambers teleconference line at 1-877-873-8018 and use 8367902 as the
 6    access code to join the conference.
 7          By September 8, 2022, the parties must submit a joint, brief update to the Court via
 8    email (not filed) to efile_goddard@casd.uscourts.gov, regarding the status of the settlement
 9    and estimated time remaining before a joint motion to dismiss can be filed.
10          If the parties timely file a joint motion to dismiss prior to the conference, the SDC
11    will be vacated without further court order.
12          All other pending dates and deadlines in the case are hereby VACATED.
13          IT IS SO ORDERED.
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15    Dated: July 29, 2022
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